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                                                                Tuesday, 26 March, 2019 05:23:53 PM
                                                                       Clerk, U.S. District Court, ILCD

                    IN THE UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION

UNITED STATES OF AMERICA,                 )
                                          )
       Plaintiff,                         )
                                          )
              vs.                         )      Case No. 17-CR-20037
                                          )
BRENDT A. CHRISTENSEN,                    )
                                          )
       Defendant.                         )

         THE UNITED STATES OF AMERICA’S SEALED REPLY TO THE
        DEFENDANT’S SEALED RESPONSE TO ITS MOTION IN LIMINE
      TO EXCLUDE EVIDENCE OR ARGUMENT OF PLEA NEGOTIATIONS

       NOW COMES the United States of America, by John C. Milhiser, United States

Attorney for the Central District of Illinois, Eugene L. Miller and Bryan D. Freres,

Assistant United States Attorneys, and Department of Justice Trial Attorney James B.

Nelson, and pursuant to the Court’s Sealed Order of March 20, 2019, (R.283) hereby

replies to the Defendant’s Sealed Response (R.278) to its Motion In Limine to Exclude

Evidence or Argument of Plea Negotiations. (R.251)

                                   INTRODUCTION

       On February 15, 2019, the United States requested that this Court exclude any

questioning, evidence, or arguments related to plea negotiations from the guilt or

penalty phases of the trial. The United States’ sealed motion did not detail any plea

negotiations between the parties, in consideration of the limitations placed on admitting

such evidence pursuant to Rule 11(f) of the Federal Rules of Criminal Procedure and

Rule 410 of the Federal Rules of Evidence, as well as concerns with improperly
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involving the Court in plea discussions in violation of Rule 11(c)(1) of the Federal Rules

of Criminal Procedure.

       In his reply, the defendant asserted that:

       Mr. Christensen made his offer to plead guilty and accept a sentence of life
       without possibility of release within six months of his arrest, before the
       Department of Justice had even authorized the United States Attorney to
       seek the death penalty against him. . . . In his proposed plea agreement, he
       stipulated that he would assist and fully cooperate with the United States
       in its efforts to recover the bodily remains of Ms. Zhang and that he would
       provide complete, truthful and verifiable information regarding the
       location of those remains.

(R.278 at 5)

       Therefore, the Court has directed the United States to file a reply informing the

Court whether (1) the defendant offered to plead guilty and assist the United States in

locating the victim’s remains in exchange for a sentence of life; and (2) if so, when the

offer was made. The short answer is that in December of 2017, after becoming aware of

the strength of the government’s case, and while the Capital Case Committee was

considering whether to recommend that the Attorney General seek a sentence of death,

the defendant’s attorneys took part in plea discussions wherein they sought to

guarantee the defendant the minimum sentence. Defense counsel, however, refused to

accept the condition that the plea agreement be made contingent on recovery of the

victim’s remains. In context, the totality of the circumstances demonstrate that these

negotiations do not demonstrate any acceptance of responsibility, as claimed by the

defendant.




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                        HISTORY OF PLEA NEGOTIATIONS

      Yingying Zhang disappeared on June 9, 2017. Despite numerous efforts to locate

her in the following days and weeks, she was not found. On June 15, 2017, the FBI

interviewed the defendant, and agents told him “Brendt, I – I need to know why

[Yingying’s] getting into your car and I need to know where she went. If we could help

her, we need it done now because we – we need to move on from this. It’s – it’s been

like six days now.” The defendant responded, “I don’t know what to say. Sorry.” He

then lied to the agents and claimed he dropped the victim off a few blocks from picking

her up. The defendant repeated his lie to agents on June 17.

      On June 30, 2017, the FBI arrested the defendant for her kidnapping after he

made recorded admissions that he had murdered her, that she would never be found,

and that her family would return to China without her. He did not state on the

recording, however, what he did with her remains. On July 3, 2017, the defendant first

appeared in court with retained counsel. After that initial appearance, undersigned

counsel approached retained defense counsel and explained their belief that the

Attorney General might credit the defendant’s willingness to provide information about

the location of the victim’s remains in his determination of whether to authorize seeking

a sentence of death. Retained defense counsel met with undersigned counsel later that

same day to inform them that he had discussed this with the defendant, and that the

defendant denied his guilt and would not be providing any information.




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       A kidnapping indictment was filed on July 12, 2017. A superseding indictment

charging kidnapping resulting in death was filed on October 3, 2017. At that time, the

jury trial was scheduled to begin in February of 2018.

       On October 24, 2017, the defendant’s attorneys filed a motion to continue the

case to give them more time to present a mitigation case to the Capital Case Committee

in an attempt to convince the Attorney General not to seek the death penalty. In early

November, the prosecution informed the defense that the Committee was planning to

meet on December 4, 2017, to consider the defendant’s case. Around that time, the

victim’s family also provided input to the Committee, including the following:

       We continue to desire that we may return Yingying to China. If there is
       anyway in the review process to obtain the necessary information to permit
       the decent and respectful return of her remains to achieve a peaceful end
       for our family’s nightmare, we would earnestly ask that this be explored
       with the Defendant and his lawyers. In accordance with Chinese culture
       and tradition, we hope to bring her home for a dignified burial where her
       spirit may be at rest and we may have peace.

On November 30, 2017, the defense wrote a letter to the Committee stating, “[W]e

appreciate the strength of the government’s case and firmly believe that Ms. Zhang’s

family and both parties would be well-served by an early resolution. . . . [O]ur goal is to

be in a position within three to four weeks to offer a formal resolution of this case.”

       On December 5, 2017, the United States notified the defense that the DOJ Capital

Review Committee had completed their review, which would be forwarded to the

Attorney General for further review. Therefore, on December 6, 2017, in accordance

with the family’s wishes, the United States forwarded to defense counsel a draft of a



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conditional plea agreement, subject to the Attorney General’s approval. In relevant part,

the conditional plea agreement included the following paragraphs:

      The family of the victim of this crime has requested that the United States
      enter into this plea agreement for a sentence of life imprisonment
      contingent on locating and recovering their daughter’s identifiable bodily
      remains. Locating and recovering their daughter’s remains is of paramount
      interest to the victim’s family to bring closure to the loss of their daughter
      and to return her remains to China.

      The defendant agrees to assist and fully cooperate with the United States,
      including law enforcement agents, to locate and recover all of the bodily
      remains of Yingying Zhang, the victim in this case. . . .

      This plea agreement is completely contingent upon the United States
      successfully locating and recovering all of the victim’s identifiable bodily
      remains through the defendant’s assistance and cooperation. If the efforts
      of the United States, with defendant’s assistance, to locate and recover all
      of the victim’s identifiable bodily remains proves to be unsuccessful, the
      United States has the right, in its sole discretion, to void this plea agreement.

Prior to the United States forwarding the conditional plea agreement to the defense on

December 6, 2017, defense counsel had not suggested the terms of any “formal

resolution,” nor had they provided any information regarding the location of the

victim’s remains.

      On December 13, 2017, defense counsel responded to the conditional plea

agreement by suggesting various modifications. Relevant here, the defendant proposed

the following modification to the third quoted paragraph above:

      This plea agreement is completely contingent upon the defendant
      providing complete, truthful, and verifiable information concerning the
      location of Ms. Zhang’s remains. If the United States, in its sole discretion,
      determines that the defendant has not provided complete and truthful
      information concerning the location of Ms. Zhang’s remains the United
      States has the right, in its sole discretion, to void this plea agreement.


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       The next day, December 14, 2017, the United States attempted to confirm defense

counsel’s position via e-mail:

       Thank you for sending us the suggested revisions. As we’ve discussed, it is
       very important to us to consult with the victim’s family prior to submitting
       any conditional plea agreement to the Attorney General. Out of sensitivity
       to the family, however, I am sure you can appreciate that we want to
       minimize their burden during that consultation. To that end, we want to
       ensure that the modified language you’ve suggested regarding locating the
       victim’s remains . . . is your client’s last and best offer. As we read that
       language, you believe that it is unlikely that her remains will be recovered
       with the defendant’s cooperation and assistance. We want to make sure we
       fully understand the revisions and the agreement so we can fairly and
       honestly present the agreement to the family.

That same day, defense counsel verbally confirmed that the United States correctly

understood the position of defense counsel. The United States thereafter provided this

information to the victim’s family, which provided (through counsel) their wishes

regarding the defendant’s sentence. The prosecutors then forwarded this information

and the family’s wishes to the Capital Case Section for inclusion in its memorandum to

the Attorney General. On January 15, 2018, defense counsel wrote a letter directly to the

Capital Case Section stating that the defendant would agree to enter a plea of guilty in

exchange for a sentence of life without parole. On January 18, 2018, the Attorney

General directed the United States Attorney’s Office for the Central District of Illinois to

seek a sentence of death in this case.

       To date, the victim’s remains have not been recovered.

                                          REPLY

       Based on the foregoing, the United States submits that in the days, weeks, and

months following the kidnapping and murder of Yingying Zhang, the defendant

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denied responsibility for his crime and demonstrated lack of remorse. Neither the

defendant, nor his counsel, discussed pleading guilty or assisting in locating the

victim’s remains until after the Capital Case Committee began reviewing the case for

the possibility of seeking a sentence of death, and after his attorneys were aware of the

strength of the government’s case. In fact, no such formal discussions took place until

the United States forwarded a plea agreement to defense counsel at the request of the

victim’s family. Even then, his attorneys rejected a plea contingency that required

successful recovery of the victim’s identifiable bodily remains.

       The defendant, naturally, characterizes this in his favor by saying he was willing

to plead guilty, but his “offer” was rejected. (R.278 at 4) A more correct characterization

is that the defendant rejected the conditional plea agreement drafted by the United

States, but then suggested various modifications, which the Attorney General rejected.

I.     Evidence of the Defendant’s Alleged Willingness to Plead Guilty.

       The defendant argues in his response that evidence of his willingness to plead

guilty should be admissible during the guilt phase. The Unites States recognizes that the

defendant himself has an absolute right to testify during the guilt and/or penalty

phases, and that he may testify that he was willing to plead guilty, as long as he is

subject to cross-examination regarding such a claim1 and the United States is entitled to


       1 Such cross-examination may include why, if the defendant claimed he was willing to
plead guilty, he did not actually do so. In this respect, he should not be allowed to claim that his
attorneys would not permit him to do so or that he relied on their advice in proceeding to trial.
The decision whether to plead guilty or not guilty belongs to the defendant, and the defendant
alone. McCoy v. Louisiana, 138 S. Ct. 1500, 1508 (2018) (reaffirming that the decision whether or
not to plead guilty in a capital case belongs solely to the defendant, not his attorney). Any claim


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introduce evidence and argument in rebuttal. See United States v. Fell, 531 F.3d 197, 221

(2d Cir. 2008) (holding that, where the defendant put his offer to plead guilty into issue,

the United States was entitled to put that evidence in context). Thus, the United States

does not object to the defendant’s request to admit such evidence to the extent he

intends to introduce it through his own testimony.

       Any attempt to introduce such evidence in any other manner, such as through a

proffer, questioning, or argument of his defense attorneys, however, would be

improper and should be precluded. First, presentation of such evidence, except through

the testimony of the defendant, would be improper. The defendant himself did not

personally engage with any agents of or attorneys for the government in any plea

negotiations or make any proffer of information; moreover, a plea agreement was never

signed, nor did the defendant actually plead guilty. Thus, from the perspective of the

United States, all that the plea negotiations themselves demonstrate is that the

defendant’s attorneys were willing to explore a plea of guilty under the terms they

proposed.

       It is a giant evidentiary leap to suggest that unsuccessful plea negotiations by the

defendant’s attorneys demonstrated “acceptance of responsibility” by the defendant

based on his alleged willingness to plead guilty. To bridge that gap (absent the

defendant’s own testimony) will require evidence that can only come from the

defendant’s attorneys. Since the United States should be allowed to challenge such a



to the contrary during the trial would be an incorrect statement of law, unfairly prejudicial, and
misleading to the jury.
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claim, the evidence must come from sworn testimony and be subject to cross-

examination. Therefore, those attorneys would become trial witnesses. Moreover, these

attorney witnesses could not rely on alleged statements made to them by the defendant

to establish his acceptance of responsibility without waiving the attorney-client

privilege related to those discussions and disclosing evidence of those discussions to the

United States.

       Second, in whatever manner such evidence of acceptance of responsibility is

presented, the United States must be allowed to address or rebut it. Obviously, this

would include evidence that the defendant’s attorneys refused to accept the original

plea agreement that made the plea contingent on the successful recovery of the victim’s

remains, which is of paramount interest to the victim’s family. Less obviously, this

would include introduction of other evidence inconsistent with the defendant’s

acceptance of responsibility, such as the defendant’s attitude and demeanor during

pretrial court proceedings and his presentation of frivolous arguments and false

testimony during his pretrial proceedings.

       In his response, the defendant claims there is no difference between pleading

guilty and proceeding to trial, and then, appears to contradict himself. On one hand, he

claims there is “no meaningful difference between pleading guilty unconditionally and

proceeding with an uncontested culpability phase, and the government should be

precluded from arguing to the contrary.” (R.277 at n.2) On the other hand, he claims

that if he concedes “his guilt at the culpability phase . . . it is inevitable jurors would

wonder why they are nevertheless being compelled to sit through the presentation of

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the government’s case for guilt.” (R.277 at 2) Thus, the defendant’s own response

acknowledges there is a very meaningful difference between pleading guilty and

exercising his right to trial. The United States must and should be allowed to rebut any

illogical claim by the defendant (if allowed by the Court) that proceeding to trial,

challenging the government’s evidence, requiring the jury to render a verdict, and

preserving his right to appeal the verdict, is equivalent to the defendant simply

pleading guilty. To rule otherwise would be to allow the defendant to make a strategic

decision to proceed to trial, rather than plead guilty,2 but then unfairly shelter him from

the natural consequences that flow from that strategic decision.

II.    The Timing and Nature of the Discussions Do Not Favor Admissibility.

       Even assuming evidence of plea discussions might be admissible in some cases,

it should not be admitted under the circumstances here. The defendant argues that he

“offered” to plead guilty “early on in the prosecution and not at the last minute.” (R.278

at 4) The United States disagrees. The defendant did not present the conditions under

which he would plead guilty to the United States until December 13, 2017. This was



       2  In fact, one of the defendant’s defense attorneys has advised that it is good capital
litigation strategy to proceed to trial on the guilt phase to allow the jury to express and relieve
its “anger” at the defendant by returning a guilty verdict, rather than to allow the jury to do so
in the first instance during the penalty phase. Matthew Rubenstien, Overview of the Colorado
Method of Capital Voir Dire, available at http://www.nhd.uscourts.gov/pdf/FPI/Overview
%20CO%20Method%20Capital%20Voir%20Dire.pdf. (“Although most capital cases remain
penalty phase cases, presenting a reasoned and vigorous defense theory at the guilt-innocence
phase is useful because it permits jurors to express (and relieve) their anger at the defendant
prior to the start of the penalty phase, and it can empower life-prone jurors to extract
concessions from other jurors regarding a sentencing phase life verdict in exchange for a guilty
vote in the first phase.”). Thus, defense counsel’s own writings directly contradict the
defendant’s claim that there is no meaningful difference between pleading guilty and
proceeding to trial.
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more than six months after his alleged crime, after the Capital Case Committee had met

to discuss whether to recommend a sentence of death, and in the face of a looming

February of 2018 trial date. Defense counsel noted in their November letter to the

Capital Case Section that they appreciated the strength of the government’s case. Thus,

the defendant’s “offer” is more properly viewed as an attempt to avoid a death sentence

in the face of overwhelming evidence of guilt than a genuine attempt to take

responsibility and avoid further anguish to the victim’s family.

       The defendant also claims the nature of the defendant’s “offer” increases its

mitigating value. Again, the United States disagrees. First of all, this case is

distinguishable from the cases cited by the defendant that discuss only admitting a

defendant’s offer to plead guilty and not the government’s response. Here, the United

States actually made the first formal conditional offer, which the defendant rejected in

favor of his own modifications. Thus, it would be impossible to convey the nature of the

defendant’s “offer” to the jury, without discussing the terms he first rejected.

       More importantly, the defendant was aware from the beginning of the case of the

victim’s family’s desire to locate her remains and return them to China. Nonetheless, he

refused to agree to a contingency that those remains be successfully located. This makes

the defendant’s “offer” of questionable relevance to acceptance of responsibility, and if

presented into evidence, the United States should be permitted to argue the nature of

his position as an aggravating factor.




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III.   The Weight of Federal Authority Is Against the Defendant’s Position.

       The defendant argues in his response that his attorney’s unconsummated

negotiations requesting that he be allowed to plead guilty to the minimum statutory

sentence constitute relevant evidence of his acceptance of responsibility. (R.278 at 3) The

United States concedes that the actual entry of a guilty plea prior to trial “combined

with truthfully admitting the conduct comprising the offense of conviction” may

constitute evidence of acceptance of responsibility, if the evidence is not “outweighed

by conduct of the defendant that is inconsistent with such acceptance of responsibility.”

See U.S.S.G. § 3E1.1, comment. (n.3). Simply engaging in plea negotiations, however,

without actually pleading guilty, is not evidence of acceptance of responsibility. After

all, a defendant always has the right to plead guilty, and the United States could not

and did not prevent him from doing so.

       In its original motion, the United States cited multiple federal circuit courts that

have rejected the argument advanced by the defendant. See, e.g., Wright v. Bell, 619 F.3d

586, 598-601 (6th Cir. 2010) (capital defendant not entitled to raise plea negotiations

during the penalty phase); United States v. Caro, 597 F.3d 608, 634-35 (4th Cir. 2010)

(holding that “[b]ecause Caro’s letter was calculated to persuade the government not to

seek the death penalty, rather than expressing unqualified remorse, we cannot agree

with Caro’s argument that the letter shows acceptance of responsibility”); Owens v.

Guida, 549 F.3d 399 (6th Cir. 2008) (capital defendant could not use failed plea

negotiations in support of mitigating factor that he accepted responsibility for the crime,

because he rejected the government’s plea offer); United States v. Fell, 531 F.3d 197, 217

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(2d Cir. 2008) (affirming district court’s order excluding a draft agreement and

statements made during pretrial negotiations from the penalty phase of capital case).

The United States also cited a recent unpublished federal district court case that reached

the same conclusion. United States v. McCluskey, Case No. 10-2734, (Docket 1060, at 25-

29) (D.N.M. Jun. 23, 2013).

       The defendant claims these circuit court cases “cannot be correct,” and instead,

relies on several distinguishable federal district court cases. For example, in Johnson v.

United States, 860 F. Supp. 2d 663, 900 (N.D. Iowa 2012), the first case cited by the

defendant, the court was examining 63 different claims raised on collateral attack by the

defendant. One of those claims was that defense counsel was ineffective for not at least

attempting to introduce the defendant’s offer to plead guilty. After examining the law at

that time, the district court found “there has been no consensus in the federal courts on

the admissibility of evidence of plea negotiations as mitigating evidence in a capital

case.” Id. Nonetheless, it found no prejudice to the defendant because admission of the

plea offers would merely “risk a further inference that the offers to plead guilty were

just ploys to avoid death sentences, not genuine expressions of remorse or acceptance of

responsibility.” Id. at 905.

       The defendant’s citation to another Johnson case -- United States v. Johnson, 713 F.

Supp. 2d 595, 612 (E.D. La. 2010) – is even less persuasive. That court did not even

address the admissibility of an offer to plead guilty at trial. Instead, it simply noted that

“the prosecution and defense stipulated that as of January 2004, Johnson had been

willing to plead guilty to a life sentence without the possibility of release.” Id. Given the

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stipulation, the district court conducted no analysis of the admissibility of the evidence.

Id. Two other district court cases cited by the defendant in his response contain no

citation. Finally, the United States extensively discussed the Fell decisions in its original

motion.

         The weight of authority, as well as the more logical argument, is that

unconsummated conditional plea discussions with a defendant’s attorneys do not show

acceptance of responsibility or remorse by the defendant himself. To rule otherwise

would be to encourage capital defense attorneys in every case to discuss “offers” to

plead guilty, regardless of the true intentions of the defendant, to create alleged

evidence of acceptance of responsibility and remorse to use in mitigation at the penalty

phase.

III.     Conclusion.

         Under these unique circumstances, it is beyond obvious that admitting such

information “would authorize a confusing and unproductive inquiry into incomplete”

negotiations. Fell, 531 F.3d at 219-20. Further, if the defendant is allowed to present such

evidence, fairness would require that the United States be allowed to respond to claims

that defense counsel’s incomplete negotiations demonstrated acceptance of

responsibility by the defendant. See, e.g., Byrd v. Collins, 209 F.3d 486, 535 (6th Cir. 2000)

(holding in capital case that “[c]ase law permits comments that are made in response ‘to

the argument and strategy of defense counsel.’”). Thus, if the defendant attempts to

introduce the fact of plea negotiations in mitigation, the United States should be



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allowed to present all facts related to those negotiations that are necessary to rebut any

confusing, unfair, or misleading inferences.

       WHEREFORE, the United States of America respectfully requests this Court to

exclude any questioning, evidence, or arguments related to plea negotiations from the

guilt or penalty phases of the trial.



Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on March 26, 2019, I electronically filed the foregoing with

the Clerk of the Court using the CM/ECF system which will send notification of such

filing to counsel of record.



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